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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                        Plaintiffs,
                                                   Case No. 1:18-cv-00950-LO-JFA
                 v.

 COX COMMUNICATIONS, INC., et al.,

                        Defendants.


                               DEFENDANTS’ MOTION TO SEAL


       Pursuant to Rule 26 of the Federal Rules of Civil Procedure and Local Civil Rule 5(C),

Defendants (“Cox”) move the Court to enter an order allowing Cox to file under temporary seal two

exhibits (Exhibits A and B) supporting Defendants’ Opposition to Plaintiffs’ June 21, 2019 Motion to

Compel (ECF No. 182). These exhibits contain documents and information that have been designated

under the Stipulated Protective Order in this case (ECF No. 58) (the “Protective Order”) by

Defendants as Highly Confidential – Attorneys’ Eyes Only.

       Cox moves the Court to enter an order allowing Cox to file under seal Exhibits A and B to

the Opposition which were designated by Defendants as “Highly Confidential – Attorneys’ Eyes

Only” pursuant to the Protective Order, because it constitutes or discusses confidential business

information belonging to Defendants. As explained below, the procedural prerequisites for sealing

have been met.

       1.      Under the local rules, a party may file a motion to seal together with the sealed

filings. E.D. VA. CIV. R. 5(D). Thereafter, the Court will determine whether the sealing is proper.

Cox follows that practice in this motion.




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        2.       Under current Fourth Circuit law, the district court must do the following prior to

sealing any court records:

             (1) give public notice of the request to seal and allow interested parties
             a reasonable opportunity to object, (2) consider less drastic alternatives
             to sealing the documents, and (3) provide specific reasons and factual
             findings supporting its decision to seal the documents and for rejecting
             the alternatives.

Ashcraft v. Conoco, Inc., 218 F.3d 282, 288 (4th Cir. 2000). Each procedural requirement has been

met here by Cox’s sealing motion.

        3.       To satisfy the first requirement, the Court must provide notice of a request for

sealing in the court record and provide interested persons with “an opportunity to object.” In re

Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984). Individual notice is not required, and the Court

may give adequate notice either by “notifying the persons present in the courtroom of the request

to seal” at the time of the hearing, or by “docketing [the sealing request] in advance of deciding

the issue.” Id. In accordance with Local Civil Rule 5 procedure, this sealing motion was publicly

docketed in advance of the hearing, satisfying the first requirement.

        4.       To meet the second requirement, the Court must consider using redactions or

limited sealing (either in scope or duration) in lieu of permanent, blanket sealing. To satisfy the

second requirement, Cox used limited sealing measures—viz., sealing certain exhibits, but not the

entire filing.

        5.       To meet the third requirement, the Court must make specific findings, supported by

the record, that justify sealing under the applicable standard. Cox meets the third requirement

because the exhibits contain confidential proprietary information concerning Cox’s business

decisions and computer systems.




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Based on the foregoing, the motion to seal should be granted. A proposed order is submitted

herewith.

Dated: June 26, 2019

                                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

I hereby certify that on June 26, 2019, the foregoing was filed and served electronically by the
Court’s CM/ECF system upon all registered users.


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